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               BEFORE THE UNITED STATES JUDICIAL PANEL
                    ON MULTIDISTRICT LITIGATION



IN RE: DIGITAL ADVERTISING
                                           MDL No. 3010
ANTITRUST LITIGATION




    RESPONSE OF ASSOCIATED NEWSPAPERS LTD. AND MAIL MEDIA, INC.
          IN OPPOSITION TO GOOGLE’S MOTION FOR TRANSFER




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                                       INTRODUCTION

       Google’s motion to transfer and centralize a large number of different antitrust claims

against it would create a procedural morass that will take years (possibly a decade) for a single

court to resolve. Google has done so many different things to harm competition in publishing

and advertising that the litigation to restore competition should be divided between two or three

courts, not dropped on a single district judge. Daily Mail proposes three sets of cases:

       1. States. A multi-state group of State Attorneys General began investigating Google’s

conduct in July of 2019. In pre-complaint discovery, the States collected three million

documents and interviewed 64 third-party witnesses. Google has answered the States’ complaint

and amended complaint, and the district court has set a schedule for finishing discovery leading

to a trial in June 2023. That State AG case is the most advanced of all the pending litigation and

should remain where it is.

       2. Advertisers. Most of the cases brought on behalf of advertisers are already

consolidated before Judge Freeman in the Northern District of California. Judge Freeman has

partially granted Google’s motion to dismiss against the advertisers, with leave to submit an

amended complaint. There are only two other cases brought on behalf of advertisers – one

before Judge Haywood Gilliam in the Northern District of California, and one before Judge

Ketanji Brown Jackson in the District for the District of Columbia. (Judge Jackson has been

nominated to be a Circuit Judge on the D.C. Circuit, and is awaiting Senate confirmation.) There

has been no answer and no discovery in any of the cases. The advertiser cases should be

centralized before Judge Freeman in the Northern District of California.

       3. Publishers. There are currently six consolidated publisher class actions before Judge

Freeman, a single large-publisher complaint filed by Daily Mail in the Southern District of New

York, and another 13 small-publisher complaints filed elsewhere in the country. Daily Mail


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agrees that centralization of these cases is warranted, but Judge Freeman is already busy and

piling more cases on her docket will not help.

       The current posture of publisher cases is largely a result of Google’s forum selection

clauses in its contracts with smaller publishers and its selective enforcement of those clauses.

The publisher class action cases were filed in the Northern District of California because Google

required the small-publisher class representatives to agree to Google’s home court. DFP Small

Business Online Standard Terms & Conditions ¶ 13.1 Google does not deny that it could have

filed Section 1404 transfer motions in the 13 individual small-publisher cases filed around the

country to bring them to the Northern District of California.

       Daily Mail is a large publisher and is not subject to such a forum selection clause. It sued

Google in the Southern District of New York because that is where Daily Mail’s U.S.

headquarters and most of the witnesses relating to publisher services are located. Indeed, several

other large publishers have forum selection clauses in which Google requires litigation against

Google to be conducted in the Southern District of New York. Google’s New York forum

selection clauses do not reflect a “home court advantage” for Google but instead the business

reality that the majority of the relevant Google witnesses regarding its publisher services are

located in New York, as Google forthrightly told the Texas court during the Section 1404

transfer argument. Of course, this Panel is not bound by Google’s forum selection clauses. See

In re Park W. Galleries, Inc., Mktg. & Sales Pracs. Litig., 655 F. Supp. 2d 1378, 1379 (J.P.M.L.

2009) (“Contractual forum selection clauses . . . do not limit the Panel’s authority with respect to

the selection of a transferee district.” (alterations and citation omitted)). As a forum for the



       1
        https://www.google.com/doubleclick/publishers/small-business/terms/ (last visited
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publisher cases, the Southern District of New York has comparative advantages over all other

courts because of the location of witnesses and the Southern District’s familiarity with similar

antitrust conduct in financial markets.

       These three courts can coordinate pretrial proceedings to minimize duplicative discovery

efforts. Alternatively, if this Panel decides to consolidate advertiser and publisher actions in the

Northern District of California, it should allow the State AG action to remain in the Eastern

District of Texas due to its advanced posture and should transfer Daily Mail’s action to that

district because of the similarities between those two cases (and dissimilarities with the other

cases). See pages 19-20 infra and Ex. A.

       The importance of these cases to publishers cannot be overstated. The House Antitrust

Subcommittee last month concluded that Google is harming “the free and diverse press” and

endangering “political and economic liberty.” House Antitrust Subcommittee, Final Rep. and

Recommendations, Investigation of Competition in Digital Markets, at 57-77, 206-11 (Apr. 15,

2021). “[E]ven before the pandemic, more than 2,000 American newspapers closed between

2004 and 2019 and about half of the jobs in the industry were lost.” Katie Robertson, New

Owner Set for Chicago Tribune, Daily News and Baltimore Sun, N.Y. Times, May 21, 2021

(reporting that “Tribune Publishing, the owner of some of the largest metropolitan newspapers in

the United States, will be acquired by a hedge fund with a reputation for slashing costs and

cutting newsroom jobs”).

       This Panel should use its authority to select forums that can move promptly. “More is at

stake than just money. . . . [T]here is a relationship between the quality of justice and the

promptness with which it can be delivered.” Rex E. Lee, The American Courts As Public

Goods: Who Should Pay the Costs of Litigation?, 34 Cath. Univ. L. Rev. 267, 269 (1985). As




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litigation wears on, the “linkage between the judicial judgment and the effects that it is intended

to have” weakens. Id. at 270. As a result, “[j]udicial relief years after the event is seldom

adequate.” Id. at 269. That is especially true in “technologically dynamic markets” marked by

“[r]apid . . . change,” in which the prospect for adequate relief will dwindle even more rapidly.

United States v. Microsoft Corp., 253 F.3d 34, 49-50 (D.C. Cir. 2001).

                                 STATEMENT OF INTEREST

       Plaintiffs Associated Newspapers Ltd. and Mail Media, Inc. (branded “Daily Mail”) offer

a unique perspective. Daily Mail is by far the private plaintiff (excluding the States’ case) that

has suffered the most damage from Google’s conduct and consequently the private plaintiff that

is most familiar with Google’s practices. Daily Mail operates the world’s most popular English-

language newspaper website (dailymail.com) – with double the unique monthly visitors as The

New York Times (225 million vs. 130 million). In the United States, it serves four billion

advertisement impressions per month – the vast majority using Google’s advertising services

(because Google has bought or eliminated the competition). Google’s anticompetitive practices

have drastically reduced the revenue that Daily Mail receives from advertising below what Daily

Mail would receive in a competitive market.

       Because of its familiarity with Google’s anticompetitive practices, Daily Mail has

received and responded to civil investigative demands from the Department of Justice and the

State Attorneys General, and its witnesses have been interviewed by several government

investigators. While the other private plaintiffs have no doubt also suffered great harm from

Google’s conduct, they are predominately individuals or small publications that are not as likely

to be familiar with the anticompetitive practices at issue and unlikely to have expended the same

resources in understanding these cases as Daily Mail.




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                                           ARGUMENT

I.     The Government Enforcement Action Should Not Be Consolidated

       Google’s motion obscures the most important action: the enforcement action brought by

15 States in the Eastern District of Texas. Google buries that action last in its listing of the cases.

See Google Br. 8 (listing Texas v. Google last). That is no mistake. Texas v. Google is light

years ahead of all other cases before the Panel, is proceeding to trial faster than other government

antitrust cases against Google, and Google thus would like to delay it as long as possible. The 15

States in Texas v. Google conducted an 18-month investigation; reviewed millions of documents,

interviewed dozens of witnesses, and filed a fully developed complaint in December 2020. See

Pl.’s Resp. in Opp’n to Google’s Mot. To Transfer at 2, Texas v. Google LLC, No. 4:20-cv-957

(E.D. Tex. Feb. 2, 2021), ECF No. 46; Am. Compl. at 2, Texas v. Google LLC, No. 4:20-cv-957

(E.D. Tex. Mar. 15, 2021), ECF No. 77. Given the strength of the complaint, Google did not

attempt to dismiss it; it answered.

       The private actions are still at the starting blocks. No private plaintiff has conducted

discovery. None has even proceeded past the motions to dismiss that Google has stated it will

file in all private actions. See Ltr. from J. Jacobson to Judge Castel at 3, Associated Newspapers

Ltd. v. Google LLC, No. 1:21-cv-3446 (S.D.N.Y. May 3, 2021), ECF No. 17. And many of the

complaints are bare-bones pleadings that may need to be amended. See, e.g., Compl., SPX Total

Body Fitness LLC v. Google LLC, No. 4:21-cv-801 (N.D. Cal. Feb. 1, 2021), ECF No. 1; Am.

Compl., Cliffy Care Landscaping LLC v. Facebook Inc., No. 1:21-cv-360 (D.D.C. May 19,

2021), ECF No. 25; Compl., Clarksburg Publ’g Co. v. Google, LLC, No. 1:21-cv-51 (N.D.

W.Va. Apr. 19, 2021), ECF No. 1. Judge Sean D. Jordan of the Eastern District of Texas,

meanwhile, has already set a trial date and the parties there have begun the discovery process in




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earnest. Scheduling Order, Texas v. Google LLC, No. 4:20-cv-957 (E.D. Tex. May 21, 2021),

ECF No. 123.

       Because the State enforcement action is so much further along, it presents the best hope

for publishers to receive meaningful relief from Google’s anticompetitive practices on a time

table that will make a difference to their businesses. It would be a severe injustice to move the

State enforcement action to join the private cases. Moving the States’ enforcement action to a

slower forum along with scores of private actions will necessarily delay it for years – while

motions to dismiss are briefed in the private cases, while the private plaintiffs attempt to catch up

on discovery, and while a single judge tries to manage a large group of disparate cases. Google

has already unsuccessfully tried to transfer Texas v. Google once. See Mem. Op. & Order, Texas

v. Google LLC, No. 4:20-cv-957 (E.D. Tex. May 20, 2021), ECF No. 122 (denying Google

§ 1404 transfer motion). Google now attempts to relitigate issues Judge Jordan decided against

it: He rejected Google’s argument that “the ease of access to sources of proof is relatively

greater in the Northern District of California”; he rejected Google’s “presum[ption] that [non-

party] witnesses reside in Northern California” when Google failed to “point[] to any specific

witnesses or entities”; and he rejected the argument that transfer would “preserve judicial

economy” noting, to the contrary, that transfer “would . . . introduce a substantial risk of

unnecessary delay.” Id. at 7, 12, 16-17. Google has provided no basis for a different result here.

       Pending legislation also counsels against moving the State AG case. The leadership of

both the House and Senate Antitrust Subcommittees have introduced identical bills to amend

Section 1407 to put State antitrust enforcement on a par with United States antitrust enforcement.

See State Antitrust Enforcement Venue Act of 2021, H.R. 3460, 117th Cong. (introduced by

Rep. Buck and co-sponsored by Rep. Cicilline, among others, on May 21, 2021); State Antitrust




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Enforcement Venue Act of 2021, S. 1787, 117th Cong. (introduced by Sen. Lee and co-

sponsored by Sen. Klobuchar, among others, on May 24, 2021). In exercising its discretion

under Section 1407, the Panel should consider these expressions of Congressional concern that

antitrust enforcement is proceeding too slowly. Cf. Amy Klobuchar, Antitrust: Taking on

Monopoly Power 62-63 (2021) (describing state leadership in the Nation’s earliest antitrust

enforcement: “The states’ actions were clearly fueled by Washington’s inability to act.”). Both

bills have an effective date of June 1, 2021. Should the legislation be enacted in its current form

after the Panel moved the State AG case from its current forum, the State AG case would be

returned back to its original venue, resulting in yet more unnecessary disruption and delay,

contrary to the prompt antitrust enforcement the legislation seeks to promote.2

II.    The Publisher And Advertiser Actions Should Not Be Joined

       The publishers and advertisers present fundamentally different cases that need not and

should not be joined. The publisher and advertiser suits involve significantly different markets,

different Google competitors (or lack thereof), and different mechanisms of competitive harm.

Consolidating would, in effect, put two large MDLs before the same judge at the same time.

This would create few efficiencies for the courts but tremendous complexity for the plaintiffs.

Google asserts that “[a]ll these cases challenge the same alleged practices involving Google’s ad

tech.” Google Br. at 10. But “Google’s ad tech” is not a single problem: it contains

monopolies. Publishers and advertisers are each unhappy in their own ways.


       2
         Even prior to Congress’s enactment of Sections 1404 and 1407, the Supreme Court
refused to allow antitrust defendants’ convenience to determine forum selection: “[P]ermitting
the application of forum non conveniens to anti-trust cases inevitably would lengthen litigation
already overextended in the time required for its final disposition, and thus would violate
Congress’ declared policy of expediting this type of litigation. . . . Antitrust suits . . . are
notoriously . . . long drawn out.” United States v. Nat’l City Lines, Inc., 334 U.S. 573, 589-90
(1948).


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       One decisive difference between the publisher and advertiser cases is the vastly different

markets in which these parties interact with Google. The advertisers allege two markets, one for

search and one for display advertising. In these markets, the customers are advertisers looking to

reach an audience for their products by placing ads alongside search results or on other

companies’ websites, and the advertiser plaintiffs claim that Google acts as either a monopolist

seller or monopolist broker of that advertising space online. See First. Am. Compl. ¶¶ 123-33, In

re Google Digital Advert. Antitrust Litig., No. 5:20-cv-3556 (N.D. Cal. Dec. 4, 2020), ECF No.

52.3 Google’s competitors in these markets would be anyone who offers reasonably

interchangeable ways of advertising.

       The publishers, in contrast, use Google for ad serving services – the inventory

management systems that publishers use to manage their online display ad inventory. In this

market, Google has a 90% share that is protected by staggering barriers to entry. See Compl.

¶¶ 34, 58, Associated Newspapers Ltd. v. Google LLC, No. 1:21-cv-03446 (S.D.N.Y. Apr. 20,

2021), ECF No. 1 (“Daily Mail Compl.”). There is no technologically feasible way for

publishers to use another ad server simultaneously with Google’s, and – in part because Google

ties access to its valuable ad exchange to its ad server – there is no economically feasible way for

publishers to switch away from Google’s ad server entirely. Id. ¶¶ 54-56. The reasons for and

effects of Google’s monopolization of the publisher ad serving market (and the publisher-side ad

exchange market) are not dependent on whether Google monopolizes the advertisers’ alleged

markets.



       3
         The consolidated complaint also made allegations related to publishers. Judge Freeman
has directed the advertiser class to remove all publisher-related allegations in its next complaint.
Order Granting Mot. To Dismiss at 6, In re Google Digital Advert. Antitrust Litig., No. 5:20-cv-
3556 (N.D. Cal. May 13, 2021), ECF No. 143.


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       The publishers and advertisers also allege different harms in those markets. In using

Google’s publisher-specific ad tech tools, publishers have been forced to accept depressed prices

for their ad inventory, a classic antitrust injury. See, e.g., Knevelbaard Dairies v. Kraft Foods,

Inc., 232 F.3d 979, 988 (9th Cir. 2000). Advertisers allege that their use of advertiser-specific

Google products has caused them to pay supracompetitive fees. See, e.g., First. Am. Compl.

¶ 23, In re Google Digital Advert. Antitrust Litig., No. 5:20-cv-3556 (N.D. Cal. Dec. 4, 2020),

ECF No. 52. The extent to which Google purports to pass on its ill-gotten monopoly or

monopsony rents in each of those product markets is irrelevant and no defense to antitrust

scrutiny. See Hanover Shoe, Inc. v. United Shoe Machinery Corp., 392 U.S. 481 (1968).

Publishers and advertisers will thus pursue disparate proof – no pretrial efficiencies will be

gained by forcing them into the same court.

       Accordingly, this is not a case involving similar antitrust theories with some unique

issues for different plaintiffs. There is no material overlap between the publisher and advertiser

plaintiffs. See In re Family Dollar Stores, Inc., Access for Individuals with Disabilities Litig.,

466 F. Supp. 3d 1383, 1383-84 (J.P.M.L. 2020) (denying centralization when “the putative

classes [did] not appear to overlap” and a “significant amount of discovery appears almost

certain to be case-specific”); In re Best Buy Co., Price Match Mktg. & Sales Pracs. Litig., 672 F.

Supp. 2d 1375, 1376 (J.P.M.L. 2010) (denying centralization when “[t]he putative classes in the

action . . . [were] not expected to overlap” and the parties “represented . . . that they intend to

cooperate in reducing duplicative discovery” despite the fact the actions “share[d] some common

factual questions”). The publisher and advertiser cases are at best independent and at worst

adverse to one another; and joining the two groups as plaintiffs in a single MDL would cause at

best confusion and at worst injustice.




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       Centralizing together these disparate cases would be an extreme burden on a single court.

It will essentially be two MDLs in one. The litigation history of these cases so far shows why

joining all these cases in a single court is not feasible. Though Judge Freeman has had both

publisher and advertiser cases for over a year, she has so far focused solely on the advertiser

actions, and the only meaningful progress is one recent motion to dismiss decision. This has

spawned a need for amended complaints. Order Granting Mot. To Dismiss at 12, In re Google

Digital Advert. Antitrust Litig., No. 5:20-cv-03556 (N.D. Cal. May 13, 2021), ECF No. 143.

Asking Judge Freeman or any single judge to manage the publisher and advertiser cases

simultaneously will likely grind both sets of cases to a halt. It will serve all interests (except

Google’s interest in delay) for the courts to divide the burden, coordinating as appropriate.

       Google’s motion (at 10-11) asserts a number of purportedly common issues among all the

cases. Nearly all of these assume the conclusion that the issues are common. And all ignore that

the advertisers and publishers define and claim harm in completely different markets. Google

uses “ad tech” as a shorthand that encompasses vastly different issues and harms. As explained

above, there is no common market definition question. “The participants in any antitrust market

relevant to Google’s ad tech” will be completely different for the different markets distorted by

Google’s ad tech. So too for “how Google’s ad tech interacts with competitors’ ad tech.” So too

for “the competitive impacts of Google’s acquisitions” and “the extent to which” Google’s

conduct was anticompetitive.

       Google’s suggestion that these cases should be centralized because they may involve a

two-sided transaction market under Ohio v. American Express Co., 138 S. Ct. 2274 (2018), is

both wrong and irrelevant. Amex required the plaintiffs to prove (as they could not) that higher

transactions fees to merchants were not offset by the greater investment in the credit-card




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network that those fees enabled. Amex required such a showing because credit-card networks

displayed strong indirect network effects: a credit-card company that raises merchant fees

“risk[s] a feedback loop of declining demand.” Id. at 2281. That is, higher fees lead merchants

to leave the network; with fewer merchants, cardholders leave the network; and then even more

merchants leave the network because there are fewer cardholders. See id. The upshot is that

Amex applies in a special case: where the defendant is disciplined by both buyers and sellers.

See id. at 2286 (“A market should be treated as one sided when the impacts of indirect network

effects and relative pricing in the market are minor.”).

       Indirect network effects are not at play in any of the markets publishers or advertisers

define, for neither publishers nor advertisers discipline Google. On the publisher side, publishers

cannot forgo Google’s ad-tech tools because Google has eliminated ad serving rivals, and thus

publishers must continue to use Google’s ad-serving and suffer the consequences. On the

advertiser side, there is little incentive to discipline Google’s conduct because advertisers may be

better off, in the short term, if Google depresses the price to advertisers for inventory. But

advertisers also are locked in to Google’s ad-tech tools much like publishers – they can access

YouTube and Google search inventory only if they use Google’s buy-side software. In any

event, even if Google competes in a two-sided Amex market, the only practical impact in these

cases would be some overlapping discovery. Publishers would then need discovery into the

advertisers’ defined markets and vice versa. Minimal coordination among different courts can

solve that issue without creating risks and complexities of joining the publisher and advertiser

actions in a single MDL. See In re Eli Lilly & Co. (Cephalexin Monohydrate) Patent Litig., 446

F. Supp. 242, 244 (J.P.M.L. 1978). The publisher and advertiser actions should not be

combined.




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III.   The Publisher Actions Should Be Sent To The Southern District Of New York

       The Southern District of New York is the most appropriate forum for the publisher

actions because it is the center of gravity for publishers and Google’s advertising services offered

to publishers and because of its well-developed case law dealing with the type of anticompetitive

conduct at issue (market manipulation). See 28 U.S.C. § 1407(a).

       A.      New York Is The Most Convenient Forum

       New York is the hub of the publishing world and is the center of gravity for the publisher

actions. The most popular online publications are headquartered there or nearby, including:

Daily Mail, the New York Times, the Wall Street Journal, Fox News, CNN, ESPN, CBS, and

many more. California does not have a comparable base of publishers; indeed, none of the 44

publisher plaintiffs before this Panel are based in California. This fact is important because

many of these publishers are not named plaintiffs but likely will be important sources of third-

party discovery. These publisher witnesses would be inconvenienced by transferring the

publisher cases to California.

       That Google’s headquarters are in California is irrelevant. While Google’s search

business was founded in California, its advertising business is based in New York. Google grew

its advertising business in substantial part by acquiring DoubleClick in 2007, which was (and

remains) based in New York. See Google Inc., SEC Form 8-K, Ex. 99-1 (Apr. 19, 2007),

available at https://www.sec.gov/Archives/edgar/data/1288776/000119312507084483/

dex991.htm.4 Google touts New York as its “second largest office” and a “focal point” for


       4
          Google has also acquired other advertising-related businesses that were based in New
York. See, e.g., U.S. Dep’t of Justice Press Release, “Statement of the Department of Justice’s
Antitrust Division on its Decision to Close Its Investigation of Google Inc.’s Acquisition of
Admeld Inc.” (Dec. 2, 2011), available at https://www.justice.gov/opa/pr/statement-department-
justices-antitrust-division-its-decision-close-its-investigation-google.


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“creative branding” and with “one of Google’s biggest” sales teams that “caters to . . . major

media companies and ad agencies.” Google Careers, New York, https://careers.google.com/

locations/new-york/ (last visited May 26, 2021). Google has even conceded that most of its

relevant witnesses are in New York not California. See Ex. B, Tr. at 49:20-21, Texas v. Google

LLC, No. 4:20-cv-957 (E.D. Tex. Mar. 18, 2021) (for 151 relevant witnesses, 67 are in New

York and only 60 are in California). And tellingly, Google has submitted no evidence

whatsoever that any of the relevant documents are located in the Northern District of California

– just as Google failed to do in its recent attempt to transfer Google v. Texas pursuant to Section

1404. See Mem. Op. & Order at 8, Texas v. Google LLC, No. 4:20-cv-957 (E.D. Tex. May 20,

2021), ECF No. 122 (“Google has failed to present any evidence of the specific documents or

kinds of documents allegedly located in the Northern California.”). Because the relevant

witnesses and documents are likely based in New York, New York is the most convenient forum

for the publishers. See Transfer Order, In re Google Play Store Antitrust Litig., MDL No. 2981

(J.P.M.L. Feb. 2, 2021), ECF No. 89; In re Am. Honda Motor Co., CR-V Vibration Mktg. &

Sales Pracs. Litig., 140 F. Supp. 3d 1336, 1337 (J.P.M.L. 2015); In re Sw. Life Ins. Co. Sales

Pracs. Litig., 268 F. Supp. 2d 1377, 1378 (J.P.M.L. 2003).

       The Panel should also give no weight to the fact that the Northern District of California

has the most cases pending before it. That does not reflect any preference of the plaintiffs to

have their cases litigated there. Indeed, Daily Mail understands that most plaintiffs will be

opposing that forum. The reason that many plaintiffs filed there is because Google has argued

that its form forum selection clauses required suit to be brought there. See, e.g., Decl. of

Danielle Coffey, Texas v. Google LLC, No. 4:20-cv-957 (E.D. Tex. Feb. 2, 2021), ECF No. 46-

17. While those forum selection clauses may determine the place of trial, the Panel accords them




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little to no weight in determining the appropriate forum for pretrial proceedings. See In re Park

W. Galleries, 655 F. Supp. 2d at 1379.

       B.      The Southern District Of New York And The Second Circuit Have Extensive
               Experience With Similar Cases

       The Southern District of New York is uniquely situated to address the publisher claims

against Google because it has a well-developed body of case law for market manipulation,

arising from its jurisdiction over the world’s leading financial markets. Much of Google’s

conduct closely parallels the anticompetitive conduct that the Southern District of New York and

Second Circuit see so frequently in cases of market manipulation.

       Two cases from the Southern District of New York’s docket are illustrative: In re Credit

Default Swaps Antitrust Litigation, 2014 WL 4379112 (S.D.N.Y. Sept. 4, 2014), and Iowa

Public Employees’ Retirement System v. Merrill Lynch, Pierce, Fenner & Smith Inc., 340 F.

Supp. 3d 285 (S.D.N.Y. 2018). In those cases, plaintiffs alleged that broker-dealers purchased

securities at depressed prices by restricting investors’ ability to compare offers in real time. See

Credit Default Swaps, 2014 WL 4379112, at *2; Iowa Pub. Employees’ Ret. Sys., 340 F. Supp.

3d at 300. Meanwhile, the broker-dealers constructed for themselves an inter-dealer market in

which they (but not investors) could access real-time price information when buying and selling

their own securities. See Credit Default Swaps, 2014 WL 4379112, at *3. Rival exchanges

attempted to enter the market to provide better competition – namely, better information to

investors – but the broker-dealers eliminated them. See id. at *3-5; Iowa Pub. Employees’ Ret.

Sys., 340 F. Supp. 3d at 312-16. This lack of competition led to “supracompetitive bid/ask




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spreads” to the detriment of investors. Id. at *3; see Iowa Pub. Employees’ Ret. Sys., 340 F.

Supp. 3d at 322. 5

       Google’s anticompetitive conduct fits that pattern. Google does not permit publishers

(who sell ad space) to compare offers in real time to offers for that ad space that would be made

by Google’s competitors (rival ad exchanges). Instead, Google rigs the bids. Google forces its

rivals to bid for ad space first – bids that Google knows because of its dominant market position

– and then Google bids one penny higher. See Daily Mail Compl. ¶¶ 101-109; 146-148. Google

goes even further by eliminating rival exchanges that threaten to introduce more competitive bids

for publishers’ ad inventory. Google forbids rivals to bid, see id.¶¶ 165-169, and forbids

publishers from providing information to Google’s rivals (such as the identity of the viewer) that

the rivals would need to bid for that ad impression, see id. ¶¶ 101-103, 155-157. This conduct

has suppressed prices similar to the broker-dealer conduct. See id. ¶¶ 190-194.

       No other circuit has a comparable body of precedent to draw upon to resolve these

similar claims against Google. The unsettled law in circuits outside of the Second Circuit will

lengthen the time to issue decisions and generate more appellate issues – both of which could

substantially prolong an MDL. This makes the Southern District of New York a superior forum

for these cases. See In re London Silver Fixing, 52 F. Supp. 3d at 1381-82 (consolidating market

manipulation case in the Southern District of New York because of “a somewhat related MDL”

already pending there “to achieve significant efficiencies”).



       5
         The Southern District of New York and Second Circuit have been the site of numerous
other leading cases on market manipulation (including those with antitrust implications) –
including manipulation of LIBOR, credit default swaps, silver, platinum, foreign exchange rates,
and more. See, e.g., Gelboim v. Bank of Am. Corp., 823 F.3d 759 (2d Cir. 2016); In re London
Silver Fixing, Ltd., Antitrust Litig., 52 F. Supp. 3d 1381 (J.P.M.L. 2014); In re Platinum &
Palladium Antitrust Litig., 2017 WL 1169626 (S.D.N.Y. Mar. 28, 2017).


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       C.      The Northern District Of California Has No Advantages

       As an initial matter, in advocating for the Northern District of California, Google neglects

to mention one of the most important distinguishing factors between the Southern District of

New York, the Northern District of California, and the Eastern District of Texas: the Northern

District of California is among the most overburdened in the country. The median time to trial in

the Northern District of California is 37.6 months and that is for the median case – not the

Frankenstein MDL that Google wants to create. The Eastern District of Texas (where Texas v.

Google should stay) has a median time to trial of 17.5 months while the Southern District of New

York takes 30.7 months. See U.S. Courts, U.S District Courts – National Judicial Caseload

Profile at 11, 35, 66 (Dec. 2020), available at https://www.uscourts.gov/sites/default/files/

data_tables/fcms_na_distprofile1231.2020.pdf. Judges in the Northern District of California

have an average of 931 pending cases each, compared with 689 and 690 for the judges of the

Eastern District of Texas and Southern District of New York, respectively. Id.

       Nor do any of the remaining factors cited by Google support the Northern District of

California. First, Google fails to show (at 16) that Judge Freeman has made substantial progress.

There has been no progress at all in the publisher action; Google has not even filed a motion to

dismiss the consolidated publisher complaint. In the advertiser cases that have been pending

before Judge Freeman since May 2020, the only progress has been partially granting a motion to

dismiss with leave to amend, which will lead to an amended complaint and a renewed motion to

dismiss. No discovery has been taken. That the advertiser cases have been pending before Judge

Freeman for a year and will continue to be at the motion-to-dismiss stage for likely another year

reflects the complexity of the cases and the enormity of the task before Judge Freeman. It would

be unwise – to say the least – to consolidate even more cases before Judge Freeman. It would be




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particularly unwise to include Texas v. Google, which is in the middle of discovery. This will

multiply her workload greatly and cause great delay.

       Second, Google notes (at 2) that the Northern District of California has the most actions

pending before it. But counting the number of filed cases is a pointless exercise. Most of the

actions pending in that district are class actions that have been consolidated and are now a single

action. See In re SeaWorld Mktg. & Sales Pracs. Litig., 118 F. Supp. 3d 1373, 1374 (J.P.M.L.

2015). With Judge Freeman’s most recent consolidation order, there are essentially only two

actions pending before her: In re Google Digital Advertising Antitrust Litig., No. 20-3556 (N.D.

Cal.) and In re Google Digital Publisher Antitrust Litigation, No. 20- 8984-BLF (N.D. Cal.).

The only other case pending in the Northern District of California is a case that Judge Freeman

has already found to be “not related.” See Order, In re Google Digital Advert. Antitrust Litig.,

No. 20-3556 (N.D. Cal. Mar. 2, 2021), ECF No. 108.

       Third, Google touts (at 16-17) that the first case was filed in the Northern District of

California. That is meaningless given the lack of progress in the cases in that district. See Order

Granting Mot. To Stay Discovery, In re Google Digital Advert. Antitrust Litig., 5:20-cv-03556

(N.D. Cal. Dec. 8, 2020), ECF No. 53 (staying discovery). It is also false. A related action was

filed in the Northern District of Georgia six months before the first action was filed in the

Northern District of California. See Inform Inc. v. Google LLC, No. 1:19-cv-5362 (N.D. Ga.

filed Nov. 25, 2019). That case alleges that Google leveraged its monopolies in search and

search advertising to gain a monopoly in the “Online Advertising Market” and that Google

illegally tied “the purchase of ads on YouTube . . . with Google’s own ad buying tools.” First

Am. Compl. ¶¶ 104, 135, Inform Inc. v. Google LLC, No. 1:19-cv-5362 (N.D. Ga. Oct. 9, 2020),

ECF No. 35. This is not the first time Google has neglected to mention the earlier-filed Georgia




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case when doing so would have conflicted with the procedural relief it sought. See Pl.’s Surreply

to Google’s Mot. To Transfer at 2, Texas v. Google LLC, No. 4:20-cv-957, (E.D. Tex. Feb. 16,

2021), ECF No. 66 (noting Google had failed to mention the earlier-filed Georgia case).

       Fourth, Google notes (at 17) that Facebook is headquartered in California and that

Amazon is headquartered in Washington. However, these are just two of many third parties

from whom the parties might seek discovery.6 There will be many other third parties, and it is

likely that many of them will be located in New York because it is the hub of all publishing and

advertising. Google has made no attempt to show that the majority of relevant third parties are in

California; it has not even attempted to show that the relevant Facebook and Amazon witnesses

are in California or Washington as opposed to New York.

IV.    Coordination Between The Courts Can Eliminate Duplicative Discovery

       Google’s purported concern (at 11-12) with duplicative discovery is overblown. Informal

coordination between the three judges, each with distinct types of cases – the advertiser cases,

the publisher cases, and Texas v. Google – can prevent duplicative discovery. The Panel’s ruling

in In re NCUA Mortgage-Backed Securities Litigation is instructive. There, the Panel considered

centralizing 14 separate actions pending before three judges across three districts that “share[d]

some general common factual questions,” including a common party in all actions (NCUA). 996

F. Supp. 2d 1374, 1375 (J.P.M.L. 2014). However, because there were differences in the legal

claims in the cases and because the cases were at different procedural postures, the Panel denied

centralization and instead suggested “informal cooperation among the involved attorneys and



       6
         Facebook is named as a defendant in 14 of 21 cases – 13 of which were filed by the
same counsel. Facebook is not named as a defendant in the most developed case (Texas v.
Google), in the largest private plaintiff case (Daily Mail), or in either of the consolidated
advertiser or publisher class complaints before Judge Freeman.


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coordination between the involved courts.” Id. at 1376 (citing Manual for Complex Litigation

(Fourth) § 20.14 (2004) (noting “judges can coordinate proceedings in their respective courts to

avoid or minimize duplicative activity and conflicts”)).

       Undersigned counsel were involved in that litigation. The coordination between the three

judges was extremely efficient. The fourteen complex security suits were prepared for trial and

resolved in a little more than three years with no duplicative discovery conducted (common

depositions, common document discovery, etc.). The three judges assigned one judge to be the

“coordinating judge” to address discovery issues in consultation with the others. See NCUA Bd.

v. RBS Secs., Inc., 2014 WL 12597071, at *1 (C.D. Cal. June 10, 2014). And at the same time,

the three judges were able to share the large workload by each addressing the distinct legal issues

presented in the cases pending before them – rather than a single judge being overburdened with

distinct legal issues from newly transferred cases. That type of arrangement would work well

here. Judge Jordan, in particular, would be an ideal candidate for a “coordinating judge” – if he

is so willing – given his involvement in the case that is at the most advanced discovery stage.

That would eliminate duplicative discovery, and allow the three judges to focus on the specific

legal issues that matter to the distinct cases before them.

V.     Alternatively, The Daily Mail Action Should Be Centralized With Texas v. Google

       As explained above, the State AG action is well on its way through pretrial proceedings

and should not be uprooted. If the panel declines to centralize all publisher actions in the

Southern District of New York, however, Daily Mail’s case should be centralized with the State

AG case. Daily Mail’s allegations share far more common questions with the States’ action than

with the actions brought by other publishers. Of the myriad theories of anticompetitive conduct

reflected in the various complaints under consideration, those alleged by the States and Daily

Mail are most closely aligned. See Ex. A (chart comparing allegations of anticompetitive


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conduct). The close identity between the allegations in those two complaints promises to

produce numerous efficiencies. In re Qualcomm Antitrust Litig., 273 F. Supp. 3d 1373, 1376

(J.P.M.L. 2017) (transferring antitrust action to district in which government enforcement

proceeding making the same allegations was pending to “facilitate coordination”); In re

Cuisinart Food Processor Antitrust Litig., 506 F. Supp. 651, 655 (J.P.M.L. 1981) (transferring

antitrust action to district where related grand jury investigation was conducted). Moreover,

neither Daily Mail nor the States name Facebook as a defendant, unlike other private publisher

actions. And Daily Mail has already been involved in the States’ enforcement action by

producing documents as part of the States’ investigation. Should the panel choose not to

centralize the publisher actions in New York, the just and efficient conduct of Daily Mail’s case

would be best served by its centralization with Texas v. Google.

                                         CONCLUSION

       For the foregoing reasons, the Panel should transfer the advertiser actions to the Northern

District of California for pretrial proceedings and transfer the publisher actions (except Texas v.

Google) to the Southern District of New York for pretrial proceedings.



Date: May 26, 2021                           Respectfully submitted,

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